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Susman Godfrey l.l.p.

October 23, 2024

Hon. Ona T. Wang
United States District Judge
Southern District of New York
New York, New York 10007

                  Re:      The New York Times Company v. Microsoft Corporation, et al.,
                           Case No.: 23-cv-11195-SHS-OTW: Motion to Compel Production of
                           Documents Concerning Future Products

Dear Magistrate Judge Wang:

        Plaintiff The New York Times Company (“The Times”) respectfully requests an order
compelling Microsoft to search for and produce 1) documents responsive to The Times’s RFP 67
regarding its plans to commercialize generative AI products built with Times content, and 2)
documents concerning Copilot Daily1—Microsoft’s recently announced AI-powered news
product—and any other generative AI products that Microsoft is currently developing in the
categories that compete with Times products—namely news, cooking, consumer reviews, and
sports. These documents are directly relevant to Microsoft’s stated fair use defense.

        The Times’s RFP 67 seeks documents concerning business development plans, strategic
roadmaps, and product development plans related to (i) Defendants’ generative AI products
identified in The Times’s Complaint, as well as (ii) any future generative AI products in the
categories of news, cooking, consumer reviews, and sports. 2 Relatedly, a number of The Times’s
requests for production 3 seek documents related to Microsoft’s “Generative AI Products and
Services,” which The Times defines as “any publicly available or commercial product or service
offering that includes a Generative AI Model, including but not limited to ChatGPT branded
products and services, Copilot branded products and services, ChatGPT, Browse with Bing, Bing
Chat, OpenAI’s soon-to-be announced search product, APIs, and platforms otherwise providing
access to a Generative AI Model.” 4 Ex. A at 2–3. The Times has since agreed to limit this definition
to those products and services in the categories of news, cooking, consumer reviews, and sports—
categories of content that The Times creates and which are the subject of its claims in this case.


1
  Microsoft has a suite of “Copilot” AI companions, including for Bing (formerly known as “Bing Chat”) and
Microsoft 365. Microsoft does not dispute that these Bing and Microsoft 365 Copilot products are within the scope
of discovery.
2
  The parties met and conferred regarding this issue via videoconference on August 21, August 23, and October 16,
and exchanged letters and emails before and after those calls. The Times’s Second RFPs are attached as Exhibit A,
and Microsoft’s Responses and Objections to those RFPs are attached as Exhibit B. Attached as Exhibit C is a July
22 letter from The Times. Attached as Exhibit D is an email exchange between the parties from before and after the
meet-and-confers.
3
  This issue specifically relates to at least RFPs 3, 7, 11, 14, 19, 23, 28, 35, 39, 41–46, 48, 50–52, 57–58, 60–67, 69–
71, and 83, which refer to “Generative AI Products and Services.”
4
  The parties met and conferred regarding this related issue via videoconference on May 16 and exchanged
correspondence before and after that call, which is attached as Exhibit E.
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       Microsoft has refused to produce documents in response to both sub-parts (i) and (ii) of
RFP 67, contending that its business plans concerning under-development products are irrelevant
and that Microsoft will only produce documents concerning products specifically enumerated in
The Times’s Complaint. Likewise, Microsoft has sought to limit the definition of Generative AI
Products and Services to “products and services identified in the Complaint: ChatGPT, ChatGPT
Plus, ChatGPT-Enterprise, Browse with Bing, Bing Chat, and Microsoft 365 Copilot” for the same
reasons.

         These limitations are improper. As The Times’s Complaint makes clear, the scope of this
case is not limited to Microsoft’s narrowed list of enumerated products; rather, those products were
offered as “illustrative and non-exhaustive” examples of infringing products offered by
defendants. Compl. ¶ 111.; see also ¶ 102 (“Defendants’ commercial applications built using GPT
models include, inter alia, ChatGPT (including its associated offerings, ChatGPT Plus, ChatGPT
Enterprise, and Browse with Bing), Bing Chat, and the Microsoft 365 Copilot line of digital
assistants.”); ¶ 108 (“Synthetic search applications built on the GPT LLMs, including Bing Chat
and Browse with Bing for ChatGPT, display extensive excerpts or paraphrases of the contents of
search results, including Times content, that may not have been included in the model’s training
set.”) (emphasis added). Of course, The Times could not have named products in the Complaint
that had not yet been publicly announced by that time. But that does not preclude it from seeking
discovery on products that are: (1) built on models that The Times alleges were trained on its
content; and (2) compete directly with The Times by offering the same categories of content The
Times creates.

         Microsoft’s refusal to produce documents concerning these products in response to RFP
67 and its exclusion of these products in the definition of Microsoft’s Generative AI Products and
Services more broadly are particularly egregious with respect to Copilot Daily. As an initial matter,
Microsoft bills Copilot Daily, which it released on October 1 of this year, as a “feature” of Copilot, 5
a product explicitly named in the Complaint. See, e.g., ¶¶ 2, 11, 102 153. Thus, even if Microsoft
were permitted to limit discovery to those products specifically identified in the Complaint,
discovery on Copilot Daily would be warranted. Moreover, Copilot Daily is of central significance
to this case, and in particular, to Microsoft’s anticipated fair use defense. As Microsoft explained
in its blog post announcing this feature, Copilot Daily “helps you kick off your morning with a
summary of news and weather.” 6 A product that provides users with daily news summaries clearly
has the potential to “supplant” Times works, and thus bears on the “central” question under fair
use factor one. Warhol, 598 U.S. at 528. While Microsoft may claim, as it does in its blog post,
that Copilot Daily “will only pull from authorized content sources,” The Times is entitled to
discovery to test that assertion and to explore how Copilot Daily was built (including whether it
relies on models built with Times content). And the same reasoning applies to any other generative
AI product in the category of news, cooking, consumer reviews, and sports.
5
  An AI Companion for Everyone, Official Microsoft Blog (Oct. 1, 2024),
https://blogs.microsoft.com/blog/2024/10/01/an-ai-companion-for-everyone/.
6
  Id.
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        It does not make any difference that Copilot Daily and other products may have been in
development at the time of filing. The Times alleges an ongoing and continuous course of illegal
conduct, which entitles it to discovery on Microsoft’s post-complaint conduct. For example, The
Times alleges that “[b]y and through the actions alleged above, Defendants have infringed and
will continue to infringe The Times’s copyrights.” Compl. ¶ 166 (emphasis added); see also ¶ 95
(“Upon information and belief, Microsoft and OpenAI continue to create unauthorized copies of
Times Works in the form of synthetic search results returned by their Bing Chat and Browse with
Bing products. Microsoft actively gathers copies of the Times Works used to generate such results
in the process of crawling the web to create the index for its Bing search engine.”). “Rule 26 does
not limit discovery to pre-complaint events in cases such as this in which the complaint alleges
that [the wrongful conduct] was continuing as of the date the complaint was filed.” Robco
Distributors, Inc. v. Gen. Glass Int’l Corp., 101 F.R.D. 547, 548 (E.D.N.Y. 1984); see also Deluxe
Fin. Servs., LLC v. Shaw, 2017 WL 7369890, at *5 (D. Minn. Feb. 13, 2017) (“[I]t may be
appropriate to allow post-complaint discovery where documents requested are relevant to the
claims and defenses in the case, especially where the complaint alleges continuing violations.”).
Denying relevant discovery into Copilot Daily and other under-development generative AI
products or services powered by Times content is improper and risks both prolonging this litigation
and necessitating potentially duplicative future litigation. If Defendants’ developing products are
excluded from discovery at present, The Times will have to either repeatedly amend its Complaint
each time a new product is announced or file a new lawsuit with significantly overlapping
allegations following each announcement. Either option unnecessarily burdens The Times and the
Court by forcing the parties to engage in either unnecessary briefing or duplicative lawsuits.

                                                     Respectfully submitted,

                                                     /s/ Ian B. Crosby
                                                     Ian B. Crosby

 cc:   All Counsel of Record (via ECF)
